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6               IN THE UNITED STATES DISTRICT COURT FOR THE

7                       EASTERN DISTRICT OF CALIFORNIA

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9    NORMAN HAYES SPECK,              )         No. CV-F-04-6168 OWW
                                      )         (No. CR-F-01-5404 OWW)
10                                    )
                                      )         MEMORANDUM DECISION AND
11                    Petitioner,     )         ORDER DENYING PETITIONER
                                      )         NORMAN HAYES SPECK’S MOTION
12             vs.                    )         TO VACATE, SET ASIDE OR
                                      )         CORRECT SENTENCE PURSUANT TO
13                                    )         28 U.S.C. § 2255 AND
     UNITED STATES OF AMERICA,        )         DIRECTING CLERK OF COURT TO
14                                    )         ENTER JUDGMENT FOR
                                      )         RESPONDENT
15                    Respondent.     )
                                      )
16                                    )

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18
          On August 26, 2004, Petitioner Norman Hayes Speck filed a
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     motion to vacate, set aside or correct sentence pursuant to 28
20
     U.S.C. § 2255.
21
          Petitioner was charged with one count of armed bank robbery
22
     in violation of 18 U.S.C. §§ 2113(a) and (d), and one count of
23
     carrying and brandishing a firearm during a crime of violence in
24
     violation of 18 U.S.C. § 924(c).         Petitioner pleaded guilty
25
     pursuant to a written Plea Agreement to armed bank robbery.          The
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1    Plea Agreement specifically provided:

2              Defendant knowingly and voluntarily waives
               his Constitutional and statutory rights to
3              appeal his plea and conviction. This waiver
               of appeal includes, but is not limited to, an
4              express waiver of defendant’s right to appeal
               his plea and conviction on any ground,
5              including any appeal right conferred by 18
               U.S.C. § 3742, and defendant further agrees
6              not to contest his plea, conviction and
               sentence in any post-conviction proceeding,
7              including but not limited to a proceeding
               under 28 U.S.C. § 2255. The defendant,
8              however, reserves the right to appeal his
               sentence.
9
     Petitioner was sentenced on June 24, 2002 to 188 months
10
     incarceration.   Petitioner filed a Notice of Appeal.
11
     Petitioner’s conviction and sentence were affirmed by the Ninth
12
     Circuit on December 18, 2002.
13
          As grounds for relief, Petitioner, relying on Blakely v.
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     Washington, 542 U.S. 961 (2004), contends that his sentence “was
15
     enhanced based on a judge’s finding by the ‘preponderance of the
16
     evidence’ standard in violation of Petitioner’s right to jury
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     determination of facts allowing enhancement, in violation of due
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     process and jury trial right.”
19
          Petitioner’s motion is DENIED.
20
          Petitioner’s motion was not filed within the one-year
21
     limitation applicable to Section 2255 motions and he makes no
22
     showing that he is entitled to equitable tolling.         Normally,
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     Petitioner would be directed to file an amended motion, setting
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     forth the facts upon which he relies in contending that the
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     Section 2255 motion is timely or that he is entitled to equitable
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1    tolling.        Petitioner will not be directed to so amend because any

2    amendment would be futile.          Blakely is not retroactive to cases

3    on collateral review.          Schardt v. Payne, 414 F.3d 1025 (9th

4    Cir.2005).1

5          For the reasons stated:

6          1.       Petitioner Norman Hayes Speck’s motion to vacate, set

7    aside or correct sentence pursuant to 28 U.S.C. § 2255 is DENIED;

8          2.       The Clerk of the Court is directed to enter JUDGMENT FOR

9    RESPONDENT.

10         IT IS SO ORDERED.

11   Dated:       August 14, 2008              /s/ Oliver W. Wanger
     668554                               UNITED STATES DISTRICT JUDGE
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           The same is true concerning United States v. Booker, 543 U.S.
     220 (2005). United States v. Cruz, 423 F.3d 1119 (9th Cir.2005),
26   cert. denied, 546 U.S. 1155 (2006).

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